                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:07CR50-1-RLV



UNITED STATES OF AMERICA        )
                                )
                                )
           vs.                  )                           ORDER
                                )
RODERICK LAUADES BROWN          )
_______________________________ )




      Leave of Court is hereby granted for the dismissal without prejudice of the

Bill of Indictment and the Superseding Bill of Indictment in the above-captioned

matter as to Roderick Lauades Brown.

      The Clerk is directed to certify copies of this Order to the U.S. Probation Office,

U.S. Marshall Service, and the United States Attorney's Office.



                                                 Signed: February 6, 2014




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